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15
                                UNITED STATES DISTRICT COURT
16                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
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     NUANCE COMMUNICATIONS, INC.,                CASE NO. CV 08-02912-JSW (MEJ)
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                       Plaintiff,                [PROPOSED] ORDER GRANTING
20                                               UNOPPOSED MOTION FOR ENTRY
            v.                                   OF FINAL JUDGMENT ON
21                                               DEFENDANT’S INVALIDITY
     ABBYY USA SOFTWARE HOUSE, INC., a           COUNTERCLAIMS
22   California corporation, ABBYY SOFTWARE,
     LTD., a Cyprus corporation, ABBYY
23   PRODUCTION LLC, a Russia corporation, and
     LEXMARK INTERNATIONAL, INC., a
24   Delaware corporation,

25                     Defendants.

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     [PROPOSED] ORDER GRANTING JOINT
     MOTION FOR ENTRY OF FINAL JUDGMENT
     Case No. CV 08-02912-JSW (MEJ)
      Case 3:08-cv-02912-JSW Document 1010 Filed 06/23/14 Page 2 of 2



 1          IT IS HEREBY ORDERED that Final Judgment is entered in this case against Lexmark
 2   on its invalidity counterclaims with respect to United States Patent Nos. 6,038,342, 5,381,489,
 3   and 6,742,161. The Court further dismisses without prejudice Lexmark’s invalidity counterclaims
 4   with respect to United States Patent Nos. 5,261,009, 5,131,053, 5,436,983, 6,810,404, and
 5   6,820,094 because they are moot.
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 7          IT IS SO ORDERED.
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 9            June 23, 2014
     Dated: _____________________                        _________________________________
                                                         Jeffrey S. White
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                                                         United States District Judge
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     [PROPOSED] ORDER GRANTING JOINT
     MOTION FOR ENTRY OF FINAL JUDGMENT
     Case No. CV 08-02912-JSW (MEJ)
